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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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CRESCENCIANO GONZALEZ,

Plaintiff,
DOCKET NO. 20-cv-
- vs. — COMPLAINT
BBKM ASSOCIATES LLC d/b/a MIRAGE
DINER and BILL KONTOLIOS,
Defendants.

 

 

Plaintiff Crescenciano Gonzalez by and through his undersigned attorneys, for his
complaint against Defendants BBKM Associates LLC d/b/a Mirage Diner and Bill

Kontolios allege as follows:

NATURE OF THE ACTION
1. Plaintiff alleges, pursuant to the Fair Labor Standards Act (“FLSA”), 29
U.S.C. § 216(b), that he is entitled to unpaid wages from Defendants for work for which
he did not receive proper overtime premium pay as required by law.
2. Plaintiff further complains that he is entitled to: (i) compensation for wages
paid at less than the statutory minimum wage; (ii) back wages for overtime work for which
Defendants willfully failed to pay overtime premium pay as required by the New York

Labor Law §§ 650 et seq. and the supporting New York State Department of Labor
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regulations; (iii) compensation for unpaid “spread-of-hours” pay in violation of the New
York Labor Law; (iv) compensation for Defendants’ violation of the Wage Theft

Prevention Act; and (v) liquidated damages pursuant to New York Labor Law for these

violations.
THE PARTIES
3 Mr. Crescenciano Gonzalez is an adult individual residing in Brooklyn,
New York.

4. Upon information and belief, Defendant BBKM Associates LLC d/b/a
Mirage Diner is a New York corporation with a principal place of business located 717
Kings Highway, Brooklyn, NY 11223.

5: Atall relevant times, Defendant BBKM Associates LLC d/b/a Mirage Diner
has been, and continues to be, an employer engaged in interstate commerce and/or the
production of goods for commerce within the meaning of the FLSA, 29 U.S.C. §§ 206(a)
and 207(a).

6. Upon information and belief, at all relevant times, Defendant BBKM
Associates LLC d/b/a Mirage Diner has had gross revenues exceeding $500,000.00.

7. Upon information and belief, at all relevant times herein, Defendant BBKM
Associates LLC d/b/a Mirage Diner has used goods and materials produced in interstate
commerce, and has employed individuals who handled such goods and materials.

8. Upon information and belief, at all relevant times, Defendant BBKM

Associates LLC d/b/a Mirage Diner constituted an “enterprise” as defined in the FLSA.
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g, Upon information and belief, Defendant Bill Kontolios is the owner or part
owner and principal of BBKM Associates LLC d/b/a Mirage Diner; he has the power to
hire and fire employees, set wages and schedules, and maintain their records.

10. Bill Kontolios is involved in the day-to-day operations of BBKM
Associates LLC d/b/a Mirage Diner and plays an active role in managing the business.

11. Defendants constituted “employers” of Plaintiffs as that term is used in the

Fair Labor Standards Act and New York Labor Law.

JURISDICTION AND VENUE
12. This Court has subject matter jurisdiction over this matter pursuant to 28
U.S.C. §§ 1331 and 1337 and supplemental jurisdiction over Plaintiffs’ state law claims
pursuant to 28 U.S.C. § 1367. In addition, the Court has jurisdiction over Plaintiffs’ claims
under the FLSA pursuant to 29 U.S.C. § 216(b).
13. Venue is proper in this district pursuant to 28 U.S.C. § 1391, because

Defendants’ business is located in this district.

FACTS
14. At all relevant times herein, Defendants owned and operated a restaurant in
New York.
15. | Mr. Gonzalez was employed by Defendants as a dishwasher from October
2017 until October 17, 2019.
16. Mr. Gonzalez’s work was performed in the normal course of Defendants’
business and was integrated into the business of Defendants and did not involve executive

or administrative responsibilities.
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17. At all relevant times herein, Mr. Gonzalez was an employee engaged in
commerce and/or in the production of goods for commerce, as defined in the FLSA and its
implementing regulations.

18. | Throughout his employment with Defendants, Mr. Gonzalez’s schedule has
been six days per week, with Tuesdays off.

19. Mr. Gonzalez worked from 4:00 P.M. to 1:00 A.M., Sundays, Mondays,
Wednesdays and Thursdays.

20. Mr. Gonzalez worked from 4:00 P.M. to 2:00 A.M. on Fridays.

21. Mr. Gonzalez worked from 4:00 P.M: to 3:00 A.M. on Saturdays.

22. Consequently, Mr. Gonzalez worked roughly 57 hours per week through
each week of his employment with Defendants.

23. Mr. Gonzalez was paid $500 per week during his employment; $300 by
check and $200 in cash.

24. Defendants failed to pay Plaintiff any overtime “bonus” for hours worked
beyond 40 hours in a workweek, in violation of the FLSA, the New York Labor Law, and
the supporting New York State Department of Labor regulations.

25. Defendants’ failure to pay Plaintiff the overtime bonus for overtime hours
worked was willful, and lacked a good faith basis.

26. Defendants failed to provide Plaintiff with an additional hour’s pay at the
New York minimum wage for each shift that exceeded ten hours, in violation of the New
York Labor Law and its supporting regulations.

27. Defendants failed to provide Plaintiff with properly compliant paystubs

under the New York Labor Law.
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28. Defendants failed to provide Plaintiff with a wage acknowledgment notice,
upon their hiring or at any time thereafter, in violation of the Wage Theft Prevention Act
in effect at the time.

29. Upon information and belief, throughout the period of Plaintiffs
employment, both before that time and continuing until today, Defendants have likewise
employed other individuals like Plaintiff in positions at Defendants’ business that required
little skill, no capital investment, and with duties and responsibilities that did not include
any managerial responsibilities or the exercise of independent judgment.

30. Upon information and belief, these other individuals have worked more
than forty hours per week, yet Defendants have likewise failed to pay him overtime
compensation of one-and-one-half times their regular hourly rate in violation of the FLSA
and the New York Labor Law.

31. Upon information and belief, these other individuals were not provided with
an additional hour’s pay at the New York minimum wage on days when their shifts
exceeded ten hours, in violation of the New York Labor Law and its supporting regulations.

32. Upon information and belief, these other individuals were not provided with
required wage notices or accurate weekly wage statements as specified in New York Labor
Law §§ 195.1, 195.3, and the Wage Theft Prevention Act.

33. Upon information and belief, while Defendants employed Plaintiff, and
through all relevant time periods, Defendants failed to maintain accurate and sufficient

time records or provide accurate records to employees.
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COUNT I: Fair Labor Standards Act - Overtime

34. Plaintiff repeats, realleges, and incorporates by reference the foregoing
allegations as if set forth fully and again herein.

35. At all relevant times, Defendants employed Plaintiff within the meaning of
the FLSA.

36. Defendants had a policy and practice of refusing to pay their employees the
correct overtime premiums for hours they worked that exceeded forty hours per workweek.

37. Because of Defendants’ willful failure to compensate Plaintiff at a rate at
least one-and-one-half times the regular rate of pay for work performed exceeding forty
hours per workweek, Defendants have violated the FLSA, 29 U.S.C. §§ 201 ef seq.,
including 29 U.S.C. §§ 207(a)(1) and 215(a).

38. The foregoing conduct, as alleged, constitutes a willful violation of the
FLSA within the meaning of 29 U.S.C. § 255(a), and lacks a good faith basis within the
meaning of 29 U.S.C. § 260.

39. Due to Defendants’ FLSA violations, Plaintiff is entitled to recover from
Defendants their unpaid overtime compensation, an additional equal amount as liquidated
damages, interest, reasonable attorneys’ fees, and costs and disbursements of this action,

pursuant to 29 U.S.C. § 216(b).

COUNT II: New York Labor Law — Minimum Wage
40. Plaintiff realleges and incorporates by reference the foregoing allegations

as if set forth fully and again herein.

41. _ At all relevant times, Plaintiff was employed by Defendants within the

meaning of the New York Labor Law, §§ 2 and 651.
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42. Defendants willfully violated the rights of the Plaintiff by failing to pay
them compensation at the statutory minimum wage in violation of the New York Labor
Law §§ 190-199, 652 and their regulations.

43. Defendants’ failure to pay compensation at the statutory minimum wage
was willful, and lacked a good faith basis, within the meaning of New York Labor Law §
198, § 663 and supporting regulations.

44. Due to Defendants’ New York Labor Law violations, Plaintiff is entitled to
recover from Defendants his unpaid compensation, liquidated damages, interest,
reasonable attorneys’ fees, and costs and disbursements of the action, pursuant to New

York Labor Law § 198, and § 663(1).

COUNT III: New York Labor Law - Overtime

45. Plaintiff repeats, realleges, and incorporates by reference the foregoing
allegations as if set forth fully and again herein.

46. At all relevant times, Plaintiff was employed by Defendants within the
meaning of the New York Labor Law, §§ 2 and 651.

47. Defendants willfully violated Plaintiff's rights by failing to pay him
overtime compensation at rates at least one-and-one-half times his regular rate of pay for
each hour worked that exceeded forty hours per workweek, in violation of the New York
Labor Law §§ 650 et seq. and its supporting regulations in 12 N.Y.C.R.R. § 146.

48. Defendants’ failure to pay overtime was willful, and lacked a good faith
basis, within the meaning of New York Labor Law § 198, § 663 and supporting regulations.

49. Due to Defendants’ New York Labor Law violations, Plaintiff is entitled to

recover from Defendants their unpaid overtime compensation, liquidated damages,
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interest, reasonable attorneys’ fees, and costs and disbursements of the action, pursuant to

New York Labor Law § 198, and § 663(1).

COUNT IV: New York Labor Law — Wage Theft Prevention Act

50. Plaintiff repeats, realleges, and incorporates by reference the foregoing
allegations as if set forth fully and again herein.

51. At all relevant times, Plaintiff was employed by Defendants within the
meaning of the New York Labor Law, §§ 2 and 651.

52. Defendants willfully violated Plaintiffs rights by failing to provide him
with the wage notices required by the Wage Theft Prevention Act when he was hired, or at
any time thereafter.

53. Defendants willfully violated Plaintiffs rights by failing to provide him
with weekly wage statements required by the Wage Theft Prevention Act at any time
during his employment.

54. Due to Defendants’ New York Labor Law violations relating to the failure
to provide paystubs, Plaintiff is entitled to recover from Defendants statutory damages of
$100 per week through February 26, 2015, and $250 per day from February 27, 2015
through the end of his employment, up to the maximum statutory damages.

55. Due to Defendants’ New York Labor Law violations relating to the failure
to provide wage notices, Plaintiff is entitled to recover from Defendants statutory damages
of $50 per week through February 26, 2015, and $50 per day from February 27, 2015 to

the termination of their employment, up to the maximum statutory damages.
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PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court grant the following

relief:

a. A declaratory judgment that the practices complained of herein are unlawful

under the FLSA and the New York Labor Law;

b. An injunction against Defendants and their officers, agents, successors,
employees, representatives, and any and all persons acting in concert with them,
as provided by law, from engaging in each of the unlawful practices, policies,

and patterns set forth herein;

c. A compensatory award of unpaid compensation, at the statutory overtime

rate, due under the FLSA and the New York Labor Law;

d. Compensatory damages for failure to pay the minimum wage pursuant to

the New York Labor Law;

e. Compensatory damages for failure to pay the “spread of hours” premiums

required by New York Labor Law;

f. An award of liquidated damages as a result of Defendants’ willful failure to

pay overtime compensation pursuant to 29 U.S.C. § 216;
g. Liquidated damages for Defendants’ New York Labor Law violations;

h. Statutory damages for Defendants’ violations of the New York Wage Theft

Prevention Act;

i. Back pay;
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j. Punitive damages;

k. An award of prejudgment and post judgment interest;

1. An award of costs and expenses of this action together with reasonable

attorneys’ and expert fees; and

m. Such other, further, and different relief as this Court deems just and proper.

Dated: January 2, 2020

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